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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA



 UNITED STATES OF AMERICA                                CRIMINAL ACTION


 VERSUS                                                  NO: 14-86


 FRED DOUGLAS BROOKS, III                                SECTION: “J”(1)


                                    ORDER

      FRED DOUGLAS BROOKS, III has applied to this Court for compassionate

release. In order for the Court to determine the action, if any, that shall be taken on

this application,

      IT IS HEREBY ORDERED that the Clerk of Court serve a copy of the

application and this order on the United States Attorney for the Eastern District of

Louisiana. The United States Attorney for the Eastern District of Louisiana is

ordered to file on or before January 14, 2020 with this Court, an answer containing

a written statement of the Government's position concerning petitioner's application

and a list of citations of authorities upon which the Government relies.

      IT IS FURTHER ORDERED that Defendant’s response to the Government’s

answer, which Defendant may file as a matter of right, is due no later than 10 days

after the Government’s answer is filed.

      New Orleans, Louisiana, this 4th day of January, 2021.




                                              CARL J. BARBIER
                                              UNITED STATES DISTRICT JUDGE
